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                UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                         EL PASO DIVISION

USA                                     §
                                        §
vs.                                     §     NO: EP:22-CR-01808(1)-DCG
                                        §
(1) Ramon Edilio Gomez-Peralta          §

                     ORDER SETTING SENTENCING

          IT IS HEREBY ORDERED that the above entitled and numbered case
is set for SENTENCING, IN PERSON, in District Courtroom, Room 322, on the
3rd Floor of the United States Courthouse, 525 Magoffin, El Paso, TX, on:
March 15, 2023 at 9:00 AM.
          Counsel for the defendant should prepare his or her client, who
is on pre-trial release, for the possibility of an immediate surrender into
the custody of the United States Marshal, at the time of the entry of a
finding of guilt on any case described in 18 U.S.C. § 3142 (f)(1)(A), (B), or
(C), as required by 18 U.S.C. § 3143(a)(2).
          IT IS FURTHER ORDERED that the Clerk shall send a copy of this
order to counsel for defendant, the United States Attorney, United States
Pretrial Services and the United States Probation Office. Counsel for the
defendant shall notify the defendant of this setting and, if the defendant is on
pre-trial release, advise the defendant to be present at this proceeding.
          IT IS FURTHER ORDERED that if for any reason the defendant or
counsel is not available that the attorney of the defendant must file a motion
for continuance.
          IT FURTHER ORDERED that if there is any need for an interpreter,
other than a Spanish language interpreter for the defendant or a witness for
the defendant, should be communicated to the Courtroom Deputy, no later
than five (5) business days prior to the court setting wherein the interpreter will
be required.
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IT IS SO ORDERED this 17th day of January, 2023.




                           ______________________________
                           HON. DAVID C GUADERRAMA
                           UNITED STATES DISTRICT JUDGE
